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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION
ALLEN DOUGLAS HALE, III,
Plaintiff,
VERSUS CIVIL ACTION NO: 1:16-cv—113-LG-RHW

CITY OF BILOXI, MISSISSIPPI;
KENNETH GARNER, Individually;
DARREN LEA, Individually; and
JOHN AND JANE DOES 2-10,
Individually,

Defendants.

DEPOSITION OF MICHAEL SHAW

Taken at Biloxi Public Safety Building,
170 Porter Avenue, Biloxi, Mississippi,
on Tuesday, April 4, 2017, beginning
at 11:09 a.m.

EXHIBIT

op"

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A. Correct.

Q. All right. And, ultimately, did a judge
approve and issue an arrest warrant for Doug Hale?

A. That's correct.

QO. And did a judge approve and issue an
arrest warrant for Nadine Tozer?

A, That's correct.

QO. And what judge was that?

A. According to the signatures, Bruce
strong.
Q. Do you remember or can you state for the

record the day that the arrest warrant was issued?

A. 2 March 2015.

QO. Okay. So that would have been the same
day that you made the affidavit for the arrest
warrant; correct?

A. Correct.

Q. What is the Biloxi Police Department
protocol when an arrest warrant is issued for a
suspect in a case -—- in a felony case? And I'll
use this term, a minor felony. What I mean by
that is I'm excluding murder, sexual battery,
rape, child crimes, things like that. What is the
protocol on a case such as this for unauthorized

use of a credit card or debit card? How does it

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A.
Q.
after the

After the warrant, telephone.
Well, let me ask you this: How long

warrant was issued? When did you have

telephonic contact with him?

A.

Q.

How long after?

Or basically when did you have

telephonic contact with him post issuance of the

arrest warrant?

A.

you?

talked to
A.
Q.

with him,

rephrase.
A.
Q.
A.

The day of the arrest warrant.
The day of the arrest warrant?

a

Okay. Did you call him, or did he call

IT think one of each.

So you talked to him twice?

I talked to him numerous times.

Okay. But I'm talking about when you
him post arrest warrant.

Correct, numerous times.

I asked you when did you have contact

so you're saying numerous times? Let me

From the day on.
Say that one more time.

I talked to him the day of issue and the

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days following.

QO. And when you say "the days following,”
what days are you referring to?

A. That week specifically, that was a
Monday, the 2nd. I would say probably through the
3rd, 4th, and then I can't be specific from that
point until the day of the arrest. It was a lot
of times, a lot of conversations with a lot of
people.

QO. What other people were you talking to?

A. i spoke to several people. I spoke to
Ms. Clark several times. I spoke to several
people calling from the trailer park who was aware
that Hale was being looked for for these warrants.

QO. That who was being looked for?

A. Mr. Hale.

QO. Okay.

A. Several people called me via dispatch.
They would patch them through to me; I've got
somebody wanting to talk to you in reference to a
warrant. Well, that could be numerous cases, but
in the back of the trailer park, Mazalea.

Q. What phone number did you use whenever
you talked to Doug?

A. IT don't recall which phone number I

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any, Gid you have with Doug?
A, Spoke to him on Wednesday, whatever date

that was, Wednesday before.

Q. Before the arrest warrant was issued?

A. Arrest warrant was issued on Monday.

Q. Did you speak to him in person or on the
phone?

A. In person.

O Where was that?

A Mazalea Trailer Park, in the office.
Q. Inside or outside?

A. Both.

QO. And who else was present?

A. At the time, Ms. Clark, the witness in
the case. As far as any other people inside there
coming and going, that's why I asked him to step
outside, because I didn't want to spread his
information out to everybody. And I spoke to him
just outside the door.

Q. What did y'all discuss?

A. Advised him who I was, identified
myself, gave him my business card, told him why I
was there, explained to him by this coming next
week, there was going to be a warrant for his

arrest, explained to him what was going on, make

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arrangements. I couldn't give him a specific on
what bond would be —- IT gave him a general,

usually between 10 and 50,000 —- until I have the

warrant issued, but it's coming first of next
week. Start making arrangements to come turn
yourself in.

Q. Did you ask him anything about the facts
of the case or the allegations that were being
made?

A. The only comment I made other than that
about taking care of this was the fact that -- him
to get in contact with Nadine and let her know
she's got one coming, too.

Q. You didn't ever ask him anything with
respect to what his involvement in it was, how
that came about?

A. No. The only other comment that was
conversation was inside when he went to pick up a
package. The reason why I was there, Ms. Clark
had contacted me to let me know. After I had
gotten her statement -- I dropped off a statement
form for her, picked the statement form back up,
and had her contact me if he was going to pick up
a package, which she did.

While I was there, he went to pick it

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television, whatever was going on.

QO. So nothing pertaining to Nancy Robinson
or Nadine Tozer or anybody involved?

A. No.

QO. You didn't say to him, was she worth it?

A. No.

QO. Okay. Now, in Investigator Shaw's
report, it says here that you told him that you
spoke with Doug on March 3list, 2015, the day prior
to the shooting incident, and advised him he had a
felony warrant that had been issued and needed to
turn himself in. Do you remember saying that to
Investigator Shaw?

A. I am Investigator Shaw.

Q. Excuse me. Investigator Shoemaker. I'm
sorry. It's getting all squirrely on me.

A. I remember talking to him several times,
yes, telling him, you know, we need to take care
of this, we need to take care of this.

Q. So you remember telling Investigator
Shoemaker that you spoke with Doug the day before
the shooting?

A. Yes. Yes.

MR. ROS: Chris, can we take a quick

break?

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